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                                 FONTENOT v. ALLBAUGH
                      LIST OF EXHIBITS SECOND AMENDED PETITION
          **the exhibit numbers continue from the Amended Petition Exhibit Numbers**

No.      Name
91       Ada Police Reports
92       Ada Police Report of Dorothy Edwards dated 11-27-84
93       Ada police reports regarding James Boardman
94       Ada police report notes on register tape witnesses
95       Karl Fontenot letters to Defense Attorney George Butner
96       Ada police report regarding Gene Whelchel
97       Letter from Terry Hull
98       Letter from George Butner
99       Ada Police Reports of people in McAnally’s on 4-28-84
100      Ada Police Report of Jimmy Simpson undated
101      Ada Police Report of Duney Alford 11-28-84
102      Ada Police Reports of Jim Moyer
103      Ada Police Report of Carrie McClure dated 11-28-84
